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                   IN THE UNITED STATES DISTRICT !COURT/                     .        ' ''
                        NORTHERN DISTRICT OF TEX1S CLF '.,:
                            FORT WORTH DIVISION {_ By A"" U,s. DrsnucTcornu

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PATRICK LEE GRAYDON,                    §
                                        §
             Movant,                    §
                                        §
vs.                                     §   NO, 4:17-CV-879-A
                                        §   (NO, 4: 16-CR-136-A)
UNITED STATES OF AMERICA,               §
                                        §
             Respondent,                §


                       MEMORANDUM OPINION AND ORDER

       Came on for consideration the motion of Patrick Lee Graydon

("movant") under 28 U.S,C.       §   2255 to vacate, set aside, or

correct sentence. After having considered such motion, the

government's response, and pertinent parts of the record in Case

No, 4:16-CR-136-A, styled "United States of America v. Patrick

Lee Graydon, et al.," the court has concluded that the motion

must be dismissed.



                                 Background

       Information contained in the record of the underlying

criminal case discloses the following:

       On June 7, 2016, movant was named in a one-count information

charging him and a co-defendant, Tammy Sue Janicek, with

conspiracy to possess with intent to distribute a controlled
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                                                                                      1
substance, in violation of 21 U.S.C.                          §   846. CR Doc.            117. On June

21, 2016, movant entered a plea of guilty and signed a written

waiver of indictment, CR Doc. 123, and a factual resume setting

forth the elements of the offense and stipulated facts, CR Doc.

124. On November 18, 2016, movant was sentenced to a term of

imprisonment of 240 months. CR Doc. 159. Movant appealed, CR Doc.

163, but the appeal was dismissed as of April 5, 2017, based on

movant's own motion. CR Doc. 176. 2

        On October 30, 2017, movant filed his motion to set aside,

vacate, or correct sentence under 28 U.S.C.                               §   2255. CR Doc. 187;

Doc. 3 1. Because the motion purported to raise one ground for

relief and attempted to hold in reserve "several other issues" he

would like reviewed, the court gave movant an opportunity to

withdraw the motion and refile it at a later time. Doc. 4. In

response to the order, movant filed a notice of appeal, falsely

representing that the court had "entered anew on or about October

31, 2017" his final judgment of conviction,                               "authorizing an out

of time appeal." CR Doc. 190. He has not withdrawn the motion at

issue.


       1
         The "CR Doc._" reference is to the number of the item on the docket in the underlying
criminal action, No. 4: 16-CR-136-A.
       2
      The motion to withdraw appeal was signed by movant with the notation "APPROVED AS TO
FORM AND SUBSTANCE." Doc. 10 at 002.
       3
           The "Doc.   "reference is to the number of the item on the docket in this civil action.

                                                     2
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                                     II.

                             Ground of the Motion

      Movant asserts one ground in support of his motion. He says

that he received ineffective assistance of counsel. As supporting

facts, he alleges that his attorney persuaded him to dismiss his

appeal.

                                     III.

                             Standards of Review

A.    28 U.S.C.   §   2255

      After conviction and exhaustion, or waiver, of any right to

appeal, courts are entitled to presume that a defendant stands

fairly and finally convicted.        United States v. Frady, 456 U.S.

152, 164-165    (1982); United States v. Shaid, 937 F.2d 228, 231-32

(5th Cir. 1991).      A defendant can challenge his conviction or

sentence after it is presumed final on issues of constitutional

or jurisdictional magnitude only, and may not raise an issue for

the first time on collateral review without showing both "cause"

for his procedural default and "actual prejudice" resulting from

the errors.     Shaid, 937 F.2d at 232.

      Section 2255 does not offer recourse to all who suffer trial

errors.    It is reserved for transgressions of constitutional

rights and other narrow injuries that could not have been raised

on direct appeal and would, if condoned, result in a complete

                                      3
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miscarriage of justice.       United States v. Capua, 656 F.2d 1033,

1037 (5th Cir. Unit A Sept. 1981).         In other words, a writ of

habeas corpus will not be allowed to do service for an appeal.

Davis v. United States, 417 U.S. 333, 345 (1974); United States

v. Placente, 81 F.3d 555, 558       (5~   Cir. 1996).     Further, if

issues "are raised and considered on direct appeal, a defendant

is thereafter precluded from urging the same issues in a later

collateral attack."      Moore v. United States, 598 F.2d 439, 441

(5th Cir. 1979)     (citing Buckelew v. United States, 575 F.2d 515,

517-18 (5th Cir. 1978)).

B.    Ineffective Assistance of Counsel Claims

      To prevail on an ineffective assistance of counsel claim,

movant must show that (1) counsel's performance fell below an

objective standard of reasonableness and (2) there is a

reasonable probability that, but for counsel's unprofessional

errors, the result of the proceedings would have been different.

Strickland v. Washington, 466 U.S. 668, 687 (1984); see also

Missouri v. Frye, 566 U.S. 133, 147 (2012). "[A] court need not

determine whether counsel's performance was deficient before

examining the prejudice suffered by the defendant as a result of

the alleged deficiencies."       Strickland, 466 U.S. at 697; see also

United States v. Stewart, 207 F.3d 750, 751 (5th Cir. 2000).

"The likelihood of a different result must be substantial, not

                                      4
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just conceivable," Harrington v. Richter, 562 U.S. 86, 112

(2011), and a movant must prove that counsel's errors "so

undermined the proper functioning of the adversarial process that

the trial cannot be relied on as having produced a just result."

Cullen v. Pinholster, 563 U.S. 170, 189 (2011)         (quoting

Strickland, 466 U.S. at 686).       Judicial scrutiny of this type of

claim must be highly deferential and the defendant must overcome

a strong presumption that his counsel's conduct falls within the

wide range of reasonable professional assistance.          Strickland,

466 U.S. at 689. Simply making conclusory allegations of

deficient performance and prejudice is not sufficient to meet the

Strickland test. Miller v. Johnson, 200 F.3d 274, 282          (5th Cir.

2000).

                                    IV.

                                 Analysis

        As the government notes, as a threshold matter, a motion

under    §   2255 should not be considered during the pendency of a

direct appeal. See United States v Fantozzi, 90 F. App'x 73, 74

(5th Cir. 2004); Jones v. United States, 453 F.2d 351, 352 (5th

Cir. 1972). Here,      the appeal is a fraudulent one, filed under the

false pretense that the court reinstated the underlying judgment

against movant so as to make his recent notice of appeal timely.

The appeal has been docketed under Case No. 17-11370 in the

                                     5
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United States Court of Appeals for the Fifth Circuit and the

government avers that Tracie L. Tippen, who represented movant in

the underlying criminal case, has been appointed to represent

movant in connection with his newly filed appeal. Doc. 9 at 4.

Tippen has filed a motion to withdraw as movant's attorney,

reciting therein that:

          Counsel discussed [movant's] appellate rights with
     him following the sentencing hearing, and on November
     30, 2016 filed the Notice of Appeal. Counsel met with
     [movant] on December 15, 2016, and on December 19, 2016
     and he expressed his desire on both occasion[s] to
     abandon the appeal. On April 5, 2017, Counsel filed
     Appellant's Amended Unopposed Motion to Withdraw
     Appeal, which was signed by [movant]. This Court
     dismissed the appeal for Cause No 16-11701.

Doc. 10 at 007-008. The appellate court has not yet ruled on the

motion or taken action with regard to the appeal.

     Although it would seem highly unlikely that the disposition

of the pending appeal would render movant's motion moot, the

court finds that the better course would be to dismiss the motion

without prejudice.

                                   v.

                                  Order

     The court ORDERS that movant's motion under 28 U.S.C.           §   2255

be, and is hereby, dismissed without prejudice.

     Pursuant to Rule 22(b) of the Federal Rules of Appellate

Procedure, Rule ll(a) of the Rules Governing Section 2255

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Proceedings for the United States District Courts, and 28 U.S.C.

§   2253 (c) (2), for the reasons discussed herein, the court further

ORDERS that a certificate of appealability be, and is hereby,

denied, as movant has not made a substantial showing of the

denial of a constitutional right.

       The court DIRECTS the Clerk to provide to the Fifth Circuit

a copy of this memorandum opinion and order and the final

judgment signed this date.

       SIGNED January 5, 2018.




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